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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               DELTA DIVISION

MACK ARTHUR BOWENS                                                                 MOVANT

v.                                                                           No. 2:00CR94-P

UNITED STATES OF AMERICA                                                      RESPONDENT


                                    FINAL JUDGMENT

       In accordance with the memorandum opinion issued today in this cause, the instant

motion to vacate, set aside, or correct the sentence of Mack Arthur Bowens is DENIED in all

respects.



       SO ORDERED, this the 30th day of March, 2011.

                                                  /s/ W. Allen Pepper, Jr.
                                                  W. ALLEN PEPPER, JR.
                                                  UNITED STATES DISTRICT JUDGE
